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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  ELI LILLY AND COMPANY,                                )
                                                        )
                                Plaintiff,              )
                                                        )
                           v.                           )       No. 1:16-cv-00596-TWP-MPB
                                                        )
  TEVA PHARMACEUTICALS USA, INC.,                       )
  TEVA PHARMACEUTICAL INDUSTRIES                        )
  LTD.,                                                 )
                                                        )
                                Defendants.             )


                         MINUTE ENTRY FOR TELEPHONIC
                            SETTLEMENT CONFERENCE
                  HON. MATTHEW P. BROOKMAN, MAGISTRATE JUDGE

         This matter came before the Honorable Matthew P. Brookman, United States Magistrate

  Judge, in Indianapolis, Indiana, at 9:00 a.m. (EST), on December 6, 2017, for a conference

  under Rule 16, Federal Rules of Civil Procedure. The parties were present and represented by

  counsel.

         A settlement has been reached in this action. Therefore, all pending motions, if any, are

  now DENIED AS MOOT and all previously ordered dates relating to discovery, filings,

  schedules, conferences and trial, if any, are VACATED.

         Within fourteen (14) days of the date of this entry, counsel for the Plaintiff shall file a

  motion to dismiss this cause and submit an order for the Court’s signature ordering the dismissal

  of this action or a stipulation of dismissal (consistent with the agreement of the parties).

  Additional time to complete the execution of the settlement documents may be granted for good




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  cause shown, if requested in writing before expiration of this period.

           SO ORDERED.

  Dated: December 7, 2017




  Served electronically on all ECF-registered counsel of record.




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